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                            UNITED STATES BANKRUPTCY COURT

                         WESTERN DISTRICT OF NORTH CAROLINA

                                     CHARLOTTE DIVISION


In Re: VINROY W. REID, Debtor                                       Case No.: 18-31436
                                                                    CHAPTER 7




                                   MOTION TO STRIKE

       NOW COMES the Debtor, Vinroy W. Reid, by and through counsel, and respectfully
moves the Court to strike Proof Of Claim #10-4 filed by Y2 Yoga Cotswold, LLC on July 16,
2020 in the amount of $1,218,901.99, along with the subsequent email providing additional
information to forwarded to the Court by Counsel for Y2 Yoga Cotswald, LLC on July 16, 2020.

       In support hereof, the Debtor would show unto the Court as follows:

       1.     That the Court held a video hearing through Zoom on June 19, 2020 on the
              Debtors’ (Vinroy W. Reid and V.R. King Constructions, LLC) Motions for
              Judgment on the Pleadings/Summary Judgment as well as other related Motions
              filed by the Trustee on both the Vinroy W. Reid and V.R. King matters. The two
              Debtors are jointly and severally liable for payment of the State Court Judgment
              owed to Y2 Yoga.

       2.     That all parties presented evidence at the evidentiary hearing on June 19, 2020.

       3.    That at the hearing the Court allowed Y2 Yoga to file an Amended Proof of Claim
             on or before July 6, 2020. Y2 Yoga filed a timely Proof of Claim in the amount of
             $918,139.49.

       4.     That on July 16, 2020, Y2 Yoga filed an Amended Claim in the amount of
              $1,218,901.19, ten (10) days after the Court ordered deadline to file the Amended
              Proof of Claim.

       5.     That on July 16, 2020, Y2 Yoga emailed additional evidence/information to the
              Court to substantiate its late filed Proof for Claim.

       6.     The Debtor objects to Y2 Yoga’s tender of additional information and/or of


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evidence because it attempts to introduce facts that are not in evidence into the hearing without
proper foundation and/or testimony after the conclusion of evidence.

       7.     The Debtor requests that the Court strike the Proof of Claim #10-4 filed by Y2
              Yoga on July 16, 2020 along with the subsequent email forwarded to the Court on
              July 16, 2020 providing the Court with additional evidence and or information.
              The Debtor asserts that such information is highly prejudicial, improper,
              impermissibly filed and not properly before the Court because the Court did not
              request the parties to file briefs or present additional evidence at the end of the
              hearing and Y2 Yoga did not seek leave from the Court to extend its deadline to
              file it proof of claim on July 16, 2020 or email additional evidence in support of
              late filed Proof of Claim.

        WHEREFORE, the Debtor prays that this Honorable Court Strike Y2 Yoga’s Proof of
Claim #10-4 filed on July 16, 2020 along with any supporting evidence and/or information
submitted on July 16, 2020, along with any other relief this Honorable Court deems just and
proper.

       On this 23rd day of July 2020.

                                                    /s/: Verna Bash-Flowers
                                                    Attorney for the Debtor
                                                    PO Box 927
                                                    Lowell, NC 28098
                                                    Phone: (704) 691-7220
                                                    Facsimile: (877) 261-2710
                                                    vnclaw.bashflowers@outlook.com
                                                    NC State Bar no: 38937




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                          UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA

                                         CHARLOTTE DIVISION


In Re: VINROY W. REID, Debtor                                              Case No.: 18-31436
                                                                           CHAPTER 7


 NOTICE OF OPPORTUNITY FOR HEARING ON DEBTOR’S MOTION TO STRIKE
   AMENDED CLAIM #10-4 FILED BY Y2 YOGA COTSWOLD, LLC
       A Motion to Strike Y2 Yoga Cotswold, LLC’s Proof of Claim filed on July 16, 2020 was filed by
       Debtor, through Counsel and

       FURTHER NOTICE IS HEREBY GIVEN that this Objection may be allowed provided no
       response and request for hearing is made by a party in interest in writing to the Clerk of Court
       within thirty (30) days from the date of this Notice at:

       Clerk, United States Bankruptcy Court

       401 W. Trade Street

       Charlotte, NC 28202

       If you mail your response to the Clerk for filing, you must do so early enough that the Court will
       receive it on or before August 21, 2020.

       You must also mail a copy of your response to:

                               Attorney Verna -Bash-Flowers, Debtor’s Counsel

                                                  PO Box 927

                                               Lowell, NC 28098

       FURTHER NOTICE IS HEREBY GIVEN, that a hearing will be conducted on the Objection at
       US Bankruptcy Court, Charlotte, Courtroom 1-5, 401 W. Trade Street, Charlotte, NC 28202 on

This is the 23rd day of July, 2020.
                                                         /s/: Verna Bash-Flowers
                                                         Attorney for the Debtor
                                                         PO Box 927
                                                         Lowell, NC 28098
                                                         Phone: (704) 691-7220
                                                         Facsimile: (877) 261-2710
                                                         vnclaw.bashflowers@outlook.com
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                              UNITED STATES BANKRUPTCY COURT

                            WESTERN DISTRICT OF NORTH CAROLINA

                                       CHARLOTTE DIVISION

                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that she is over the age of eighteen (18) years and
  understands the obligations of an oath. She certifies that on this 23rd day of July, 2020, she
  filed the attached Motion to Strike, to be served on the following via ECF only on:

U.S. Bankruptcy Administrator Shelley Abel: Shelley_Abel@ncwba.uscourts.gov;

A. Burton Shuford, Trustee: bshuford@abshuford.com;

James H. Henderson, Attorney for Y2 Yoga: henderson@title11.com;

Robert Lewis, Jr., Attorney for VR King Construction, LLC: rlewis@thelewislawfirm.com; and

David G. Guidry, Attorney, for Notice Purposes only, for Y2 Yoga:
  davidglenguidry@gmail.com.

This is the 23rd day of July, 2020.
                                                     /s/: Verna Bash-Flowers
                                                     Attorney for the Debtor
                                                     PO Box 927
                                                     Lowell, NC 28098
                                                     Phone: (704) 691-7220
                                                     Facsimile: (877) 261-2710
                                                     vnclaw.bashflowers@outlook.com
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